                        Case 5:20-cr-00601-XR Document 3 Filed 11/18/20 Page 1 of 4
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                  FILED
                                                             for the                                     November 18, 2020
                                             WESTERN District of TEXAS                                  CLERK, U.S. DISTRICT COURT
                                                                                                        WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                         cd
                                                                                                    BY: ________________________________
                             v.                                 )                                                           DEPUTY
                                                                )       Case No. SA-20-MJ-1417
                                                                )
             Jose Victor Calleja-Velazquez                      )
                      aka KORY                                  )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 11, 2020                           in the county of Bexar                                  in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
Title 18 USC 922 (g) (5)                   Illegal/Unlawful Alien In Possession Of a Firearm


                                           -Up to 10 Years Imprisonment, $250,000 Fine, 3 years Supervised
                                           Release, $100 Mandatory Special Assessment.


         This criminal complaint is based on these facts:

See attached affidavit




              Continued on the attached sheet.

                                                                        ERIC WATKINS                   Digitally signed by ERIC WATKINS
                                                                                                       Date: 2020.11.18 12:45:18 -06'00'
                                                                                           Complainant’s signature

                                                                        Eric Watkins, SA/ATF
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.

         November 18, 2020 at 1:35pm
Date:
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Elizabeth S. Chestney, U.S. Magistrate Judge
                                                                                            Printed name and title
           Case 5:20-cr-00601-XR Document 3 Filed 11/18/20 Page 2 of 4




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Eric Watkins, duly sworn do hereby depose and state:

1.     Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
       Explosives (ATF) since October 2018. Additionally, between April 2014 and October 2018
       your affiant was a sworn ATF Task Force Officer, and therefore, since April 2014, your
       affiant has participated in investigations concerning violations of Titles 18, 21, and 26.

2.     On December 15, 2019, San Antonio Police Department officers arrested Aaron Martinez
       at his residence at the 4800 block of Castle Guard in San Antonio during a kidnapping
       investigation. Officers obtained a search warrant for the residence and located a Glock
       model 19, 9mm pistol, SN- BCWS685. Agents later determined that this kidnapping
       incident was related to an alien smuggling stash residence operated by Martinez.

3.     During the investigation into the alien smuggling organization associated with the above
       arrest, agents identified Jose Victor CALLEJA-Velazquez aka Kory as a senior member of
       the organization who specialized in maintaining, possessing, and distributing firearms for
       the organization. On March 24, 2020, agents obtained a federal search warrant for
       CALLEJA’s Facebook account, which returned data on May 11, 2020. Agents established
       the Facebook belonged to CALLEJA through a known telephone number listed in the
       Facebook records, which agents know belonged to CALLEJA, and by viewing numerous
       “selfie” photographs of CALLEJA in the account. Additionally, agents observed a
       Facebook Messenger chat on April 19, 2019 where CALLEJA-Velazquez sent a Facebook
       friend his complete name, Jose Victor CALLEJA-Velazquez.

4.     While searching CALLEJA’s Facebook account, agents found numerous photographs and
       text message corroborating information regarding CALLEJA as a possessor and distributor
       of firearms. Particularly, on December 10, 2019, CALLEJA sent a photograph of the Glock
       model 19, 9mm pistol, SN- BCWS685 to a Facebook friend five days before SAPD officers
       seized the firearm from Aaron Martinez. Your affiant confirmed the flooring in the
       background of the photograph matched the flooring in CALLEJA’s apartment at the 100
       block of Camino De Oro in San Antonio, Texas. Your affiant also confirmed that
       CALLEJA lived in that apartment complex up until December 27, 2019, as stated by
       CALLEJA on an apartment application.

5.     Your affiant also discovered a Facebook Messenger communication thread between
       CALLEJA and a known associate of the organization, co-conspirator #1 (CC#1). During
       this chat, that initiated on February 6, 2020 and continued up until February 11, 2020, CC
       #1 orchestrated the sale and delivery of an AR-15 variant rifle to CALLEJA. On February
       6, 2020, CC#1 forwarded two pictures of an AR-15 variant rifle to CALLEJA; one photo
       captured the rifle being held by a male subject and the second photo of the rifle laying on
          Case 5:20-cr-00601-XR Document 3 Filed 11/18/20 Page 3 of 4




      a bed with two high capacity magazines. Both photos clearly captured the rifle with a
      distinct fore grip and red dot scope affixed. CALLEJA asked for a video of the rifle being
      shot, but CC#1 explained that the rifle was broken and offered to give the rifle to CALLEJA
      as he could “get more out of it.”

6.    On February 10, 2020, CC#1 sent CALLEJA a video of the same rifle with the fore grip
      and red dot scope and a high-capacity magazine inserted in the rifle. The person holding
      the rifle is captured on the video charging the firearm and depressing the trigger causing
      the hammer to fall. A click sound is audible on the video clip.

7.    Eventually, CALLEJA offered to buy the rifle for $350 dollars. On February 11, 2020,
      CC#1 forwarded a picture of what appeared to be the same rifle inside a vehicle. CC#1
      asked CALLEJA for directions to his location so they could complete the transaction.
      CALLEJA sent CC#1 a pin drop capturing his approximate location at or near 4855-4887
      Cornerway Boulevard, in San Antonio, Texas.

8.    Later that day, CALLEJA sent CC#1 a photograph of the rifle within the original
      communication thread. The rifle was consistent in appearance to the rifle CC#1 negotiated
      to sell to CALLEJA, with the same fore grip and red dot scope visible. The picture captured
      the rifle’s lower receiver separated from the upper receiver exposing the inner mechanical
      pieces of the rifle. The lower receiver is stamped with what appears to be a Spike’s Tactical
      emblem with a manufacture state listed as Florida. A partial serial number of “78579” was
      also visible in the picture. CALLEJA complained to CC#1 about the broken charging
      handle inside the rifle. Agents have not seized the Spike’s Tactical model ST15 rifle but
      corroborated CALLEJA’s purchase of the rifle through an interview of CC#1, who
      admitted that he sold the rifle to CALLEJA.

9.    You affiant confirmed the lineage of the rifle through the partial serial number captured in
      the picture posted by CALLEJA. Spike’s Tactical confirmed that the lower receiver is a
      Spike’s Tactical, model ST15, multi-caliber receiver, SN-SAR78579, which was
      manufactured or distributed by Spike’s Tactical. Your affiant spoke with the first purchaser
      of the Spike’s Tactical model ST15 multi-caliber receiver, who resides in Louisville,
      Kentucky. This individual confirmed he joined the Spike’s Tactical receiver to a complete
      upper, thus making a rifle, and later lost the Spike’s Tactical model ST15 rifle years later
      to a forfeited pawn in Kentucky. Thus, the Spike’s Tactical model ST15 multi-caliber rifle,
      SN- SAR78579 is a firearm not manufactured in the State of Texas; therefore, traveling in
      interstate commerce.

10.   An ATF Interstate Nexus examination revealed that the Glock model 19, 9mm pistol, SN-
      BCWS685 was not manufactured in the State of Texas, and therefore traveled in interstate
      and/or foreign commerce.

11.   Jose Victor CALLEJA-Velazquez is a citizen and national of Mexico. Agents from
      Homeland Security Investigations confirmed that CALLEJA is not a United States Citizen,
      and is unlawfully present in the United States.
           Case 5:20-cr-00601-XR Document 3 Filed 11/18/20 Page 4 of 4




Based on the above facts, your affiant believes there is probable cause that Jose Victor CALLEJA-
Velazquez is an illegal alien who possessed a firearm in violation of 18 U.S.C. §922(g)(5).

                                            ERIC                 Digitally signed by ERIC
                                                                 WATKINS

                                            WATKINS              Date: 2020.11.18 12:45:41
                                                                 -06'00'_________
                                            Special Agent Eric A. Watkins
                                            Bureau of Alcohol, Tobacco, Firearms &
                                            Explosives



SUBSCRIBED AND SWORN TO ME THIS 18TH DAY OF NOVEMBER 2020


                                            ____________________________________
                                            HONORABLE ELIZABETH S. CHESTNEY
                                            UNITED STATES MAGISTRATE JUDGE
